           Case 1:21-vv-00605-UNJ Document 9 Filed 05/25/21 Page 1 of 2




     In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-605V
                                        UNPUBLISHED


    KEITH ROGERS,

                        Petitioner,                          Chief Special Master Corcoran
    v.
                                                             Filed: April 27, 2021
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,
                                                             Motion for decision; dismissal.
                        Respondent.


Bridget C. McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Heather L. Pearlman, U.S. Department of Justice, Washington, DC, for Respondent.

                                               DECISION1

       On January 12, 2021, Keith Rogers filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10 through 34,2
(the “Vaccine Act”). Mr. Rogers alleged that he suffered a shoulder injury related to
vaccine administration (“SIRVA”) from an influenza vaccine he received on January 12,
2019. ECF No. 1 at 1.

        On April 19, 2021, Mr. Rogers filed a motion for a decision dismissing his
petition. ECF No. 7. For the reasons set forth below, Mr. Rogers’ motion is GRANTED,
and this case is hereby DISMISSED.

      In his petition, Mr. Rogers alleged that that he received the influenza vaccination
at a Walgreens Pharmacy but did not otherwise detail any of his symptoms or medical
treatment. ECF No. 1. Petitioner’s counsel advised in a declaration that she had
prematurely filed the petition due to a potential Vaccine Table amendment that would no
1Although I have not formally designated this Decision for publication, I am required to post it on the United
States Court of Federal Claims' website because it contains a reasoned explanation for the action in this
case, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will be
available to anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has
14 days to identify and move to redact medical or other information, the disclosure of which would constitute
an unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this
definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
            Case 1:21-vv-00605-UNJ Document 9 Filed 05/25/21 Page 2 of 2



longer allow Mr. Rogers to allege a Table SIRVA claim. The February 5, 2021 PAR
Initial Order required Mr. Rogers to file all the statutorily required documents, including
an affidavit and medical records supporting the vaccination, pre-vaccination treatment,
and post-vaccination treatment. ECF No. 5.

      Mr. Rogers received an extension of time but never filed an affidavit, any medical
records or other supporting documents.

       On April 19, 2021, Mr. Rogers filed a motion for a decision dismissing his petition
stating that “[a]n investigation into the facts supporting this case has demonstrated to
Petitioner that he will be unable to prove that he is entitled to compensation in the
Vaccine Program.” ECF No. 7.

        To receive compensation under the National Vaccine Injury Compensation
Program, a petitioner must prove either 1) that the vaccinee suffered a “Table Injury” –
i.e., an injury falling within the Vaccine Injury Table – corresponding to one of the
vaccinations, or 2) that the vaccinee suffered an injury that was actually caused by a
vaccine. See §§ 300aa—13(a)(1)(A) and 300aa—11(c)(1). Mr. Rogers alleged that he
sustained a SIRVA Table Injury.

       Under the Vaccine Act, a petitioner may not receive compensation based solely
on the petitioner’s claims alone. Rather, the petition must be supported by either
medical records or by the opinion of a competent physician. § 300aa—13(a)(1). For a
Table Injury, among other requirements, a petitioner must establish with supporting
documentation that he received a covered vaccine, that he sustained a covered injury,
and that he suffered the effects of this injury for at least six months. § 300aa—11(c)(1).
Mr. Rogers has not submitted any medical records to establish these preliminary
requirements. Moreover, Mr. Rogers admitted in his motion for a decision that he will
not be able to prove his claim.

      Thus, petitioner has failed to establish entitlement to compensation in the Vaccine
Program. This case is dismissed for insufficient proof. The clerk shall enter
judgment accordingly.3

IT IS SO ORDERED.


                                                    s/Brian H. Corcoran
                                                    Brian H. Corcoran
                                                    Chief Special Master




3
 If Petitioner wishes to bring a civil action, he must file a notice of election rejecting the judgment
pursuant to § 21(a) “not later than 90 days after the date of the court’s final judgment.”

                                                       2
